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            WOODHOUSE
             EXHIBIT 4

                REDACTED
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           EXHIBIT C
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        From:                    Guillaume Lample[/O=THEFACEBOOK/OU=EXTERNAL
                                 (FYDIBOH F25SPDLT)/CN=RECI Pl ENTS/CN=D5DFE144828C4CF7980638CE3
                                 E199ADF]
        Sent:                    Tue 2/28/2023 11 :01 :12 PM (UTC)
        To:                      Melanie Kambadu~             meta.com]; Xavier
                                 Martinet -meta.com]; Nikolay Bashi kov
                                 Albert           eta.com]; Moya Che
                                 Lacha             meta.com] ; Guillaume Lample                     meta.com]
        Subject:                 Message summary [{"otherUserFbld":null ,"threadFbld":8865995773473436}]
        Attachment:              332846787_9020492504659760_2751155617077653862_n .png
        Attachment:              332530197_533621921983081_4735798491804002938_n.png
        Attachment:              332024563_230609189352290_3833951687220188647_n.png

        Moya Chen (2/28/2023 10:14:04 PST):
        >Starting a thread with folks that might have opinion on the ~          ata acquisition.
        >
        >Context here is that @Nikolay did the initial ingestion + analysis of data, and while the data that we've
        got is high quality, there's only going to be maybe about 1b usable tokens.

        Moya Chen (2/28/2023 10:14:06 PST):

        shared: 332846787_9020492504659760_2751155617077653862_n.png

        Moya Chen (2/28/2023 10:14:34 PST):

        shared: 332530197_533621921983081_4735798491804002938_n.png

        Melanie Kambadur (2/28/2023 10:16:13 PST):
        >Books data acquisition perhaps? Since we are also talking to scribd and others?

        Guillaume Lample (2/28/2023 10:20:03 PST):
        >1 B usable tokens seems very small

        Guillaume Lample (2/28/2023 10:20:27 PST):
        >books3 + gutenberg is 30B and it's quite small already

        Peter Albert (2/28/2023 10:20:34 PST):
        >I think the books seemed like good quality, so I don't think there will be issues on that front. So I don't
        think we need another sample dataset.
        >
        > The following things would be interested to know:
        >- how many books in total can they offer us (if it is way to small it might not make sense for us. For
        comparison the bookcorpus has about 11 k books, but mostly fiction)
        >- how is the distribution between books and articles? For articles we can already get Pubmed and arxiv
        for free, so I think mostly the long form books are interesting
        >- how is the distribution of topics

        Guillaume Lample (2/28/2023 10:20:41 PST):
        >are we talking about 1 B for -       r j ust what they sent us ?

        Peter Albert (2/28/2023 10:20:50 PST):
        >just what they sent us i think




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        Moya Chen (2/28/2023 10:21 :11 PST):
        >cynical thought, but how much do we think they would do something like only send us the *good* quality
        books that they have

        Nikolay Bashlykov (2/28/2023 10:2 1:28 PST):
        >the dataset has both ebooks and journals (scientific articles): 380k journals. 170k books chapters. Both
        are well structured and have high quality texts.

        Guillaume Lample (2/28/2023 10:21 :49 PST):
        >i was afraid of this, but given that they sent us many books with just a few chapters here and there, it
        reduces this probability a bit

        Nikolay Bashlykov (2/28/2023 10:22 :05 PST):
        >* it's the sample that we have

        Nikolay Bashlykov (2/28/2023 10:22:44 PST):
        >just what they sent us

        Guillaume Lample (2/28/2023 10:22:46 PST):
        >what was the fraction again? of this sample among the full size ?

        Nikolay Bashlykov (2/28/2023 10:23: 19 PST):
        >I don't have data on that @

        Melanie Kambadur (2/28/2023 10:24 :28 PST):
        >I wasn't helping with early       onvos, just have this doc:
        https://docs.google.com/documenUd

        Moya Chen (2/28/2023 10:24:40 PST):
        >access requested

        Melanie Kambadur (2/28/2023 10:24:43 PST):
        >But we can look into this with BD

        Guillaume Lample (2/28/2023 10:24:49 PST):
        >no access

        Melanie Kambadur (2/28/2023 10:25:12 PST):
        >Ah don't have sharing . It's Faisal's doc let me copy

        Peter Albert (2/28/2023 10:25:23 PST):
        >Books3 is 197k books for comparison

        Melanie Kambadur (2/28/2023 10:25:47 PST :
        >https://docs.google.com/documen

        Peter Albert (2/28/2023 10:28:55 PST):
        >Mhm, the document doesn't say how many books they have in total. Also for pricing its 200 books for
        60k dollars?

        Moya Chen (2/28/2023 10:30:16 PST):
        >actually as a thought - do we have any -         enforced deadlines to make a decision here? Given
        how long it took them to get back to us, I'm guessing no. right?

        Guillaume Lample (2/28/2023 10:30:35 PST):
        >seems unreasonably expensive




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        Moya Chen (2/28/2023 10:30:38 PST):
        >Kind of half wondering if we can just decide to ... hold off and wait and see if bizdev can make contact
        with other books sources

        Melanie Kambadur (2/28/2023 10:30:48 PST):
        >No not at all but they are incredibly slow to respond to each email and make meetings and they take
        like 4+ weeks to deliver data

        Moya Chen (2/28/2023 10:30:49 PST):
        >cause this lol

        Melanie Kambadur (2/28/2023 10:31:14 PST):
        >Yes and this is the not commercial friendly price and we pay per year

        Guillaume Lample (2/28/2023 10:31 :42 PST):
        >how much would it be for commercial friendly?

        Guillaume Lample (2/28/2023 10:31 :49 PST):
        >that's absurd. books do not cost $300

        Moya Chen (2/28/2023 10:32:32 PST):
        > ...when you're a publisher that makes its income off of charging large institutions for access to scientific
        data ... (like I think companies like -      is part of the reason why arxiv exists, yeah?)

        Moya Chen (2/28/2023 10:33:20 PST):
        >(anyway that snark is prolly note useful)

        Melanie Kambadur (2/28/2023 10:33:56 PST):
        >Ah forgot @Xavier was involved with original -           deal

        Peter Albert (2/28/2023 10:34: 10 PST):
        >I think if we get their whole dataset (and its like 30x larger than the sample, which was only maths
        books) for a few million it would make sense as these are high quality long books, that we propably won't
        get somewhere else.

        Melanie Kambadur (2/28/2023 10:34:29 PST):

        shared: 332024563_230609189352290_3833951687220188647_n.png

        Melanie Kambadur (2/28/2023 10:34:30 PST):
        >Also dig up this email (again research prices I believe)

        Peter Albert (2/28/2023 10:41 :25 PST):
        >So 200k dollars per year for 3.84 million books/articles (even if only some percentage are books and
        the rest are articles) seems good, even if the commercial license is more expensive.

        Xavier Martinet (2/28/2023 10:50:03 PST):
        >My 2 (x10"8) cents: with the current focus, are the ~    ooks really necessary? shouldn't we take
        $1 M and buy as much as we can from Barnes & Nobles instead ?

        Moya Chen (2/28/2023 10:50:36 PST):
        >... copywrite?

        Nikolay Bashlykov (2/28/2023 10:50:47 PST):
        >in the sample that we have we have there are ~8k books and ~?Ok journals, so books are ~10%. I the




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        whole dataset (3.8M according to the screenshot above) has the same ratio, than we would get ~380k
        books, which is quite good

        Moya Chen (2/28/2023 10:50:48 PST):
        >*right

        Xavier Martinet (2/28/2023 10:50:48 PST):
        >fair use, no?

        Moya Chen (2/28/2023 10:50:56 PST):
        >legal gray area

        Xavier Martinet (2/28/2023 10:51 :25 PST):
        >this is why they set up this gen ai org for: so we can be less risk averse

        Xavier Martinet (2/28/2023 10:52:20 PST}:
        >my opinion would be (in the line of "ask for forgiveness, not for permission"): we try to acquire the
        books and escalate it to execs so they make the call

        Peter Albert (2/28/2023 10:53:17 PST):
        >So what is the idea here? To buy ebooks from barnes and nobles?

        Moya Chen (2/28/2023 10:53:21 PST):
        >mmm i think it's one thing if it were a new area where we're not sure yet... I think it's another thing when
        there's already been lawsuites in the pipeline

        Moya Chen (2/28/2023 10:53:39 PST):
        >notably

        Moya Chen (2/28/2023 10:53:40 PST):
        > https://www.theverge.com/2023/1/28/23575919/m icrosoft-openai-gith ub-d ismiss-copi lot-a i-copyrig ht-
        lawsuit

        Moya Chen (2/28/2023 10:53:59 PST):
        >{it's about code data rather than books, but I'm guessing that's what the lawyers are watching)

        Xavier Martinet (2/28/2023 10:54:03 PST):
        >sure, but have the courts ruled that the tech company were guilty?

        Xavier Martinet (2/28/2023 10:54:40 PST):
        >I mean, worst case: we found out it is finally ok, while a gazillion start up just pirated tons of books on
        bittorrent

        Moya Chen (2/28/2023 10:55:08 PST):
        >i'd maybe agree with you, but given how FB also threw idk $2 mil or something like that at shutterstock
        to not deal with potentially getting sued

        Moya Chen (2/28/2023 10:55:28 PST):
        >regardless .. I think @Melanie Kambadur's been the one in contact with the lawyers

        Moya Chen (2/28/2023 10:55:45 PST):
        >and would have best context for what sort of appetite the org has for asking for forgiveness, not
        permission

        Moya Chen (2/28/2023 10:56:18 PST):
        >but for better or for worse - yeah, it is a trend that startups tend to have more leeway on this




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        Xavier Martinet (2/28/2023 10:56:20 PST):
        >my 2 cents again: trying to have deals with publishers direcly takes a long time, as the- -
        shows (we started in September if I remember correctly). So better buy books at retailer~

        Moya Chen (2/28/2023 10:56:38 PST):
        >cause the established companies are worth more $$ to patent trolls

        Peter Albert (2/28/2023 10:59:06 PST):
        >but isn't that more expensive than making a deal? 10$ * 3 million books is more than what we are
        paying -

        Melanie Kambadur (2/28/2023 11 :00:05 PST):
        >Yeah we definitely need to get licenses or get approvals on publicly available data still

        Melanie Kambadur (2/28/2023 11 :00:34 PST):
        >difference now is we have more money, more lawyers, more bizdev help, ability to fast track/escalate
        for speed, and lawyers are being a bit less conservative on approvals.

        Xavier Martinet (2/28/2023 11 :02 :52 PST):
        >There is a trade off between speed and money efficiency I suppose

        Melanie Kambadur (2/28/2023 15:01:12 PST):
        >Know it's not quite books but osted a uestion on PDF docs here:
        https://fb.workplace.com




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